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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                  February 27, 2024
                          UNITED STATES DISTRICT COURT
                                                                                  Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

GABRIEL HALL                                  §
                                              §
         Petitioner,                          §
VS.                                           §   CIVIL ACTION NO. 4:24-cv-627
                                              §
BOBBY LUMPKIN, Director,                      §
TDCJ-CID,                                     §
                                              §
         Respondent.                          §

               ORDER CONDITIONALLY APPOINTING COUNSEL

       Gabriel Hall, an inmate on Texas’ death row, has filed a motion for the appointment

of counsel. (Docket Entry No. 1). Under 18 U.S.C. § 3599(a)(2), “any [capital habeas

petitioner] who is or becomes financially unable to obtain adequate representation . . . shall

be entitled to the appointment of one or more attorneys.” Hall, however, has not yet filed

an in forma pauperis application indicating his indigence and, therefore, his entitlement to

appointed counsel.

       The Court conditionally authorizes Hall to proceed in federal court without the

payment of fees. This Court conditionally finds that federal law entitles Hall to the

appointment of federal habeas counsel.      The Court APPOINTS the following office to

represent Hall throughout his federal habeas proceedings:

           The Federal Public Defender for the Northern District of Texas
                               Capital Habeas Unit
                           525 Griffin Street, Suite 629
                               Dallas, Texas 75202
                                 214.767.2746 (tel)
                                214.767.2886 (fax)
                         Jeremy_Schepers@fd.org (email)
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       Hall can fulfill the conditions of this appointment by filing a motion to proceed in

forma pauperis with an accompanying showing of indigency within thirty (30) days from

the entry of this Order.

       The Clerk will deliver a copy of this Order to the parties.

       SIGNED and ENTERED on this 26th day of February, 2024.



                                                  _______________________________
                                                      GEORGE C. HANKS, JR.
                                                  UNITED STATES DISTRICT JUDGE
